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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PLAINTIFF FUNDING HOLDING, LLC, d/b/a
LAWCASH,

Plaintiff,
Vv.

ORDER

ROBERT JOSEPH HOPKINS, LAWCASH 911,
LAWSUIT CASH TODAY, and FUNDING : 20 CV 6804 (VB)
AMERICA, LLC, :

Defendants.

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On August 24, 2020, plaintiff, Plaintiff Funding Holding, LLC, doing business as
LAWCASH, commenced the instant action against defendants Robert Joseph Hopkins, Lawcash
911, Lawsuit Cash Today, and Funding America, LLC. (Does. ##1, 10).

On August 25, 2020, the Clerk of Court issued summonses as to defendants Robert
Joseph Hopkins and Funding America, LLC. (Docs. ##8—9).

On October 6, 2020, plaintiff docketed proof of service indicating service on defendants
Robert Joseph Hopkins and Funding America, LLC on September 28, 2020. (Doc. #7).
Accordingly, Robert Joseph Hopkins and Funding America, LLC had until October 19, 2020, to
respond to the complaint. See Fed. R. Civ. P. 12(a)(1)(A)().

Moreover, on October 8, 2020, the Clerk of Court issued summonses as to defendants
Lawsuit Cash Today and Lawcash 911. (Docs. ##16—17). To date, plaintiff has not docketed
proof of service indicating service on defendants Lawsuit Cash Today or Lawcash 911.

To date, defendants Robert Joseph Hopkins and Funding America, LLC have neither
appeared in this action nor answered, moved, or otherwise responded to the complaint.

 
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Accordingly, provided that defendants Robert Joseph Hopkins and Funding America,
LLC remain in default, plaintiff is ORDERED to seek certificates of default as to defendants
Robert Joseph Hopkins and Funding America, LLC by November 3, 2020, and thereafter to
move, by order to show cause and in accordance with the Court’s Individual Practices, for
default judgment against defendants Robert Joseph Hopkins and Funding America, LLC by
November 17, 2020. If plaintiff fails to satisfy either deadline, the Court may dismiss the

case without prejudice for failure to prosecute or failure to comply with court orders. Fed.

R. Ciy. P. 41(b).

Dated: October 20, 2020
White Plains, NY
SO ORDERED:

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Vincent L. Briccetti
United States District Judge

 

 

 
